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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
 THERAPEUTICSMD, INC.,

                Plaintiff,

         v.                                               C.A. No. 1:25-cv-00440-RGA

 MAYNE PHARMA LLC

                Defendant.


  STIPULATION AND [PROPOSED] ORDER EXTENDING TIME TO RESPOND TO
                 FIRST AMENDED COMPLAINT [D.I. 16]

        WHEREAS, Plaintiff TherapeuticsMD, Inc. (“TXMD”) filed its original Complaint in

this matter on April 8, 2025 (D.I. 1), and served Defendant Mayne Pharma LLC (“Mayne”) on

April 10, 2025 (D.I. 5);

        WHEREAS, TXMD filed its First Amended Complaint against Mayne on June 20, 2025

(D.I. 16);

        WHEREAS, TXMD and Mayne (collectively, “the Parties”) wish to extend the deadline

for Mayne to move, answer, or otherwise respond to the First Amended Complaint from July 7,

2025 to July 21, 2025; and,

        WHEREAS, to the extent that Mayne files a motion in response to the First Amended

Complaint, the Parties wish to extend the deadline for TXMD to file its answering brief from

August 4, 2025 to August 29, 2025.

        NOW THEREFORE, it is hereby stipulated and agreed by and between the Parties,

subject to the approval of the Court, that the deadline for Mayne to move, answer, or otherwise

respond to the First Amended Complaint (D.I. 16) shall be extended from July 7, 2025 to July

21, 2025, and the deadline for TXMD to file an answering brief in response to any motion filed
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in response to the First Amended Complaint shall be extended from August 4, 2025 to August

29, 2025.



Dated: June 25, 2025


SMITH KATZENSTEIN & JENKINS                        MORRIS, NICHOLS, ARSHT &
LLP                                                TUNNELL LLP

/s/ Daniel A. Taylor                               /s/ Elise K. Wolpert
Julie M. O’Dell (No. 6191)                         S. Mark Hurd (#3297)
Daniel A. Taylor (No. 6934)                        Elise K. Wolpert (#6343)
1000 West Street, Suite 1501                       1201 N. Market Street
Wilmington, DE 19801                               Wilmington, DE 19801
(302) 652-8400                                     (302) 658-9200
jmo@skjlaw.com                                     shurd@morrisnichols.com
dat@skjlaw.com                                     ewolpert@morrisnichols.com

Attorneys for Plaintiff TherapeuticsMD, Inc.       Counsel for Defendant Mayne Pharma LLC




              IT IS SO ORDERED this _____ day of ___________________, 2025.




                                               Richard G. Andrews
                                               United States District Court Judge




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